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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                            UNITED STATES DISTRICT COURT                           November 28, 2017
                             SOUTHERN DISTRICT OF TEXAS                             David J. Bradley, Clerk
                                 HOUSTON DIVISION

TONYA GRANGER,                                 §
                                               §
        Plaintiff,                             §
VS.                                            §   CIVIL ACTION NO. 4:17-CV-3027
                                               §
LIGHTHOUSE PROPERTY INSURANCE                  §
CORPORATION, et al,                            §
                                               §
        Defendants.                            §

                             ORDER GRANTING REMAND

       This cause having come on for hearing on the motion of the plaintiff, Tonya Granger, to

remand this action to the 151st Judicial District Court, Harris County, Texas, and the Court

having considered the arguments of counsel submitted in support of and against this motion, it

appears to the Court that the pleading, arguably support a cause of action against Timothy Alan

Mercer and that he is a citizen of the state of Texas. Therefore, the plaintiff’s claims against

Mercer cannot be dismissed or disregarded.

       It is ORDERED that the plaintiff’s motion to abstain and remand is Granted. The case is

ORDERED remanded to the 151st judicial District Court of Harris County, Texas.

       It is so ORDERED.

       SIGNED on this 28th day of November, 2017.


                                                ___________________________________
                                                Kenneth M. Hoyt
                                                United States District Judge




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